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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                       WESTERN DIVISION

UNITED STATES OF AMERICA                              )
                                                      )        No. 21 CR 50008
                  vs.                                 )
                                                      )        Judge Iain D. Johnston
SCOTT KOTESKI                                         )

                        UNITED STATES= SENTENCING MEMORANDUM

         For more than five years, defendant stole money from Association A, a non-profit business

created to bring broadband technology to smaller municipalities in northern Illinois. While on the

surface defendant’s theft appears to be a small blip on an otherwise lawful life, such a view ignores

the fact that day-to-day, month-to-month, and year-to-year, for more than five years, defendant

knowingly took money not belonging to him. Such a view also ignores the fact that every month

for more than five years (approximately 65 months), defendant took steps to conceal his

wrongdoing while at the same time continuing his day-to-day stealing from Association A.

         The probation officer determined defendant’s advisory Guidelines range is 21 to 27

months’ imprisonment. 1         The government recommends that this Court sentence defendant to 21

months’ imprisonment.

                                                BACKGROUND

         Defendant was an employee of the City of Rochelle. Starting in 2011, defendant was

selected as the treasurer of Association A, a non-profit business created to bring broadband internet

technology to smaller municipalities in northern Illinois. As the treasurer for Association A,



1 The government has no objections to the factual findings, the offense level and criminal history calculations, or
the proposed conditions of supervised release contained in the PSR.

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defendant handled the invoicing and billing of the member municipalities. Between February

2012 and April 2018, defendant had signatory authority on Association A’s bank account.

       Starting in September 2012, defendant started writing checks to himself from Association

A’s bank account. On some of the checks, defendant wrote on the memo line of the check a

statement such as, “final Wed. payment,” “Lighting Camera,” or “Invoice 1237852” to make it

appear that the check was issued to defendant for repayment of monies defendant spent for

Association A, when, in fact, the checks were not for repayment. Defendant deposited the checks

in his personal bank account and used the money from Association A for his own benefit.

Between September 5, 2012, and February 21, 2018, defendant wrote himself approximately 83

checks from Association A’s bank account totaling $146,076.42. Defendant also wrote one check

for $575 from Association A’s bank account to an automobile dealer that defendant used as a down

payment for the purchase of a new car for defendant.

       Additionally, on February 15, 2018, defendant caused a $1,180.75 electronic payment from

Association A’s bank account to Online Company A, an online loan financing company, to pay

the balance of defendant’s Online Company A loan.        Similarly, in March and April 2018,

defendant caused three electronic payments totaling $2,500 from Association A’s bank account to

Credit Card Company A to pay for balances on defendant’s personal Credit Card Company A

credit card. Specifically, on March 2, 2018, April 19, 2018 and April 23, 2018, defendant caused

electronic payments of $2,000, $300, and $200, respectively, from Association A’s bank account

located in Illinois to Credit Card Company A’s online payment processing server located in

Richmond, Virginia, to pay for balances on defendant’s personal Credit Card Company A credit

card. Ultimately, defendant’s scheme resulted in a total loss of $150,332.17 to Association A.


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                                            ARGUMENT

        Defendant’s crime is very serious.      Defendant stole money from Association A, a non-

profit business created to bring broadband internet technology to smaller municipalities in northern

Illinois.    These smaller communities struggle to bring such technology to their communities as

they do not have the leverage to establish better Internet service.    Associations like Association

A pull their resources together to increase their leverage thereby giving their residence access to

better service.    Defendant’s theft impacted not only Rochelle, where he lives, but all the other

communities who contributed monies to Association A.

        While the Guidelines account for defendant’s criminal history (or lack thereof) and the

amount of money defendant stole, the Guidelines do not account for the length of defendant’s

scheme.      Whether defendant took all the money on one day, or took the same amount over the

course of more than five years, the Guidelines range is the same.       The latter conduct, however,

deserves a harsher sentence because, unlike a one-time error in judgment, defendant stole money

from Association A day-to-day, month-to-month, and year-to-year.          At any time over the course

of more than five years defendant could have stopped, but defendant did not. It was only because

the City of Rochelle investigated defendant for improperly using his city issued credit card and

uncovered some of the checks written from Association A’s account that defendant’s scheme came

to an end.    In fact, there is no reason to believe defendant would have ever stopped if investigators

did not happen to come across the checks.

        That being said, the government has little reason to believe defendant will engage in similar

conduct in the future.     But this Court’s sentencing determination should not stop at specific




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deterrence.   General deterrence, particularly with regard to white-collar type offenses, should

weigh heavily in this Court’s sentencing determination.

         While a prison sentence may not deter a particular defendant, increasingly longer prison

sentences do serve a general deterrent function by deterring others from committing a similar

crime.    See Daniel S. Nagin, Deterrence in the Twenty–First Century, 42 Crime & Justice 199,

231 (2013) (stating that increasingly longer prison sentences can have appreciable deterrent effects

when defendants face a relatively shorter sentence to begin with); Mark W. Lipsey & Francis T.

Cullen, The Effectiveness of Correctional Rehabilitation: A Review of Systematic Reviews, 3 Ann.

Rev. L. & Soc. Sci. 297, 299 (2007)(observing that the existence of a criminal justice system that

threatens wrongdoers with arrest and punishment deters many to refrain from crime, when they

would likely break the law if there were no risk of detection and penalty).   “White collar criminals

seem like ‘prime candidates for general deterrence’ because they (presumably) act rationally,

calculating and comparing the risks and rewards before deciding whether to engage in criminal

activity.” United States v. Warner, 792 F.3d 847, 860-61 (7th Cir. 2015); see also United States

v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994)(“Considerations of (general) deterrence argue

for punishing more heavily those offenses that either are lucrative or are difficult to detect and

punish, since both attributes go to increase the expected benefits of a crime and hence the

punishment required to deter it.”).

         Here, for more than five years, defendant engaged in criminal conduct not unfamiliar to

the Western Division.     See United States v. Brown, 880 F.3d 399, 406 (7th Cir. 2018)(“In

determining the importance of deterrence in crafting a sentence, the sentencing court must answer

the situation from the perspective of the prospective offender.         From that perspective, the


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likelihood of getting caught depends not simply on the amount of resources that the Government

expends on a particular type of crime, but the frequency with which the particular crime is

committed and the ease with which it can be committed and go undetected.”).                      In United States

v. Sally Classen, 16 CR 50029, defendant Classen stole $440,369.83 from her employer and was

sentenced to 24 months’ imprisonment.               In United States v. Teresa Johnson, 17 CR 50051,

defendant Johnson stole more than $2.2 million from her employer and was sentenced to 41

months’ imprisonment. In United States v. Leilani Hillis, 18 CR 50078, defendant Hillis stole

$632,718.99 from her employer and was sentenced to 37 months’ imprisonment.                       In United States

v. Michelle McKinney, 18 CR 50030, defendant McKinney stole $475,775.84 from her employer

and was sentenced to 15 months’ imprisonment. A sentence below the Guidelines range will not

sufficiently deter others from committing similar crimes. 2 Rather, such a sentence would arguably

provide an incentive for others like defendant to place more weight on the benefit of the money

versus the risk of a below-Guidelines sentence.

        Moreover, a sentence below the advisory Guidelines range would produce an unwarranted

disparity as “the Sentencing Guidelines are themselves an anti-disparity formula, and the Supreme

Court stated in Gall v. United States, that to base a sentence on a properly determined Guidelines

range is to give adequate consideration to the relation between the defendant’s sentence and those

of other persons[.]” United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017)(internal

citation omitted). “District judges have discretion to sentence outside a Guidelines range, but . .




2 There have been academic studies challenging the idea that a longer sentence deters others from committing similar
crimes. See United States v. Weathers, 744 Fed. Appx. 947, 949 (7th Cir. 2018). First, the sentencing statue requires
this Court to consider deterrence. See 18 U.S.C. § 3553(a)(2)(B). Second, the government is not seeking a “longer”
sentence; rather, the government is seeking a sentence at the low-end of the Guidelines range.

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. such a step comes at the expense of increased disparities; it is never compelled by § 3553(a)(6)

in order to avoid unwarranted disparities.” Id.


                                        CONCLUSION

       For more than give years, defendant stole from Association A and covered his tracks.

This Court should sentence defendant to 21 months’ imprisonment—a term of imprisonment at

the low-end the Guidelines range.

                                                      Respectfully submitted,

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                       CERTIFICATE OF FILING AND SERVICE

       The undersigned Assistant United States Attorney hereby certifies that the following

document:

                   UNITED STATES= SENTENCING MEMORANDUM

was served on June 22, 2021, in accordance with FED. R. CRIM. P. 49, FED. R. CIV. P. 5, LR 5.5,

and the General Order on Electronic Case Filing (ECF) pursuant to the district court=s system as

to ECF filers.



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